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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN

  DOUGLAS HOWARD,

         Plaintiff,

  -vs-                                                 CASE NO. 22-1132
                                                       HON. PAUL L. MALONEY
                                                       MAG. SALLY J. BERENS

  CITY OF KALAMAZOO, JUSTIN AARON WOLBRINK,
  CALEB JONES, and BRETT BYLSMA,
  in their individual and official capacities.

         Defendants.

 CHRISTOPHER TRAINOR & ASSOCIATES              CITY OF KALAMAZOO
 CHRISTOPHER J. TRAINOR (P42449)               OFFICE OF THE CITY ATTORNEY
 AMY J. DEROUIN (P70514)                       WILLIAM R. BATES (P43306)
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 T. JOSEPH SEWARD (P35095)                     ACHO, PLC
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STIPULATED ORDER EXTENDING DEADLINE FOR DISMISSAL PAPERS BY THIRTY
                            (30) DAYS




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       THIS MATTER having come before this Honorable Court upon stipulation of the parties,

through their respective counsel, and the Court being otherwise fully advised in the premises:

       WHEREAS, the parties reached a settlement of all of Plaintiff’s claims in this case at a

Settlement Conference before Magistrate Judge Berens held on November 28, 2023;

       WHEREAS, this Court ordered that the parties were to submit the “appropriate stipulated

dismissal papers” with the Court by December 28, 2023 (DE 71); and

       WHEREAS, the parties stipulate and agree that good cause exists to extend the deadline

for submission for dismissal papers by a period of thirty (30) days due to the time necessary to

obtain the required municipal approvals, the negotiation and/or approval of release terms, and

holiday schedules of the parties’ respective counsel.




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       IT IS HEREBY ORDERED that the appropriate stipulated dismissal papers shall be filed

with the Court on or before January 26, 2024.

       IT IS SO ORDERED.

       THIS IS NOT A FINAL ORDER AND DOES NOT CLOSE THE CASE.


                                              /s/ Paul L. Maloney
                                            __________________________________________
 Date: December 21, 2023
                                            HONORABLE PAUL L. MALONEY



We Stipulate and Agree to Entry of the Above Order:


s/ Jonathan A. Abent
AMY J. DEROUIN (P70514)
JONATHAN A. ABENT (P78149)
Attorneys for Plaintiff

s/ T. Joseph Seward (w/ consent 12.20.23)
T. JOSEPH SEWARD (P35095)
MICHAEL A. KNOBLOCK (P77544)
Attorneys for Defendant Wolbrink

s/ William R. Bates (w/ consent 12.20.23)
WILLIAM R. BATES (P43306)
Attorney for Defendant City of Kalamazoo

s/ Timothy S. Ferrand (w/ consent 12.20.23)
TIMOTHY S. FERRAND (P39583)
CHRISTINE M. SUTTON (P61005)
Attorneys for Defendants Jones and Bylsma




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